                       UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
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  UNITED STATES OF AMERICA,

                        Plaintiff,

                 v.                                  Case No. 18-CR-154 (PP)

  VAN L. MAYES,

                    Defendant.
______________________________________________________________________________

     UNITED STATES’ PROPOSED RESPONSE SCHEDULE RELATED TO THE
 DEFENDANT’S MOTIONS TO UNSEAL GRAND JURY MATERIAL AND DISMISS
                             FOR INSUFFICIENCY
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       The United States of America, by and through its attorneys, Gregory J. Haanstad, United

States Attorney, and Christopher Ladwig and Benjamin Taibleson, Assistant United States

Attorneys, intended to respond to the defendant’s motions to unseal Grand Jury materials and to

dismiss for insufficiency, by March 29, 2024―the deadline for the filing of motions in limine. If

the court would prefer a response on a date other than March 29, 2024, the government will adjust

as ordered.

        Dated at Milwaukee, Wisconsin this 6th day of March, 2024.



                                                    GREGORY J. HAANSTAD
                                                    United States Attorney

                                                    /s/ Christopher Ladwig
                                                    CHRISTOPHER LADWIG
                                                    BENJAMIN TAIBLESON
                                                    Assistant United States Attorneys
                                                    United States Attorney’s Office
                                                    Eastern District of Wisconsin




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